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                      IN THE UNITED STATES DISTRICT COURT FOR
                        THE NORTHERN DISTRICT OF OKLAHOMA

  MARILYN PHILLILPS,                           )
                                               )
                        Plaintiff,             )
                                               )
  v.                                           )             Case No. 17-CV-547-JED-JFJ
                                               )
  FARMERS INSURANCE                            )
  COMPANY, INC.,                               )
                                               )
                        Defendant.             )

       PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION FOR STIPULATION

         The Plaintiff objects to the Defendant’s Motion for Stipulation because it is not accurate.

  The Plaintiff has not stipulated that the splints that she wears do not help her cope with injuries

  she claims are related to the August 27, 2012 wreck.          Ms. Phillips testified in her recent

  deposition that she wears the splints (she called them braces) because her hands bother her when

  she plants her flowers. Ex. 1, Depo Marilyn Phillips, p. 14, ll. 22-25. Therefore, Plaintiff

  cannot stipulate that the use of her braces is not related to the accident of August 27, 2012. The

  jury can hear Plaintiff’s testimony about the braces and weigh it against the testimony of the

  doctors and decide what weight, if any, to give to her testimony on that issue.

                                                               Respectfully Submitted:


                                                       By:     s/Anthony M. Laizure
                                                               Anthony M. Laizure, OBA # 5170
                                                               Laizure Law, PLLC
                                                               1616 S. Main Street
                                                               Tulsa, OK 74119
                                                               Phone: (918)749-0749
                                                               Fax: (918)518-7250
                                                               E-mail: TLaizure@LaizureLaw.com
                                                               Attorney for Plaintiff
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                                  CERTIFICATE OF SERVICE

          The undersigned does hereby certify that on the 17th day of May, 2019, I electronically
  transmitted the attached document to the Clerk of Court using the ECF System for filing. Based
  on the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
  the following ECF registrants:

  Robert Taylor
  Steidley & Neal, PLLC
  CityPlex Towers, 53rd Floor
  2448 E. 81st Street
  Tulsa, OK 74137
  Email: rht@steidley-neal.com
  Attorney for Defendant

                                                       s/Anthony M. Laizure
                                                       Anthony M. Laizure




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